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                      EXHIBIT C
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff             )       Case No. 1:23-CR-00114
                                            )
       v.                                   )
                                            )       District Judge Timothy S. Black
SAMUEL RANDAZZO                             )       Magistrate Judge Karen L. Litkovitz
                                            )
                      Defendant             )
                                            )
                                            )


   DECLARATION OF JEREMY D. MARGOLIS IN SUPPORT OF DEFENDANT’S
               MOTION FOR INTRADISTRICT TRANSFER


       I, Jeremy D. Margolis, hereby declare under penalty of perjury that the following is true

and correct:

       1.      I am an attorney at Loeb & Loeb LLP (“Loeb”)

       2.      Loeb represents Mr. Randazzo in the above matter.

       3.      This declaration is based upon my personal knowledge of the facts stated herein,

and I respectfully submit this declaration in support of Mr. Randazzo’s Motion for Intradistrict

Transfer (ECF. No. 19).

       4.      Loeb was engaged by Mr. Randazzo in July 2021, in connection with the Federal

Government’s then, ongoing criminal investigation related to FirstEnergy Corp.

       5.      In connection with its work, Loeb & Loeb received an advance payment retainer

from Mr. Randazzo, which per the terms of our engagement, and as expressly provided by Illinois

law, was deposited into Loeb & Loeb’s general operating account, and became the property of

Loeb & Loeb upon payment.
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